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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION
________________________________________________
                                                  }
STEVEN HOTZE, M.D., WENDELL CHAMPION,             }
HON. STEVE TOTH, AND SHARON HEMPHILL,             }
                                                  } Civil No.4:20-cv-03709
      Plaintiffs,                                 }
                                                  }
                  v.                              }
                                                  }
CHRIS HOLLINS, in his official capacity as Harris }
County Clerk,                                     }
                                                  }
      Defendant.                                  }
________________________________________________}

                                 [PROPOSED] ORDER

      For the reasons stated in the motion filed by Amici Cities and Counties, the Motion for

Leave to File a Brief as Amici Curiae is GRANTED.




Dated: November _______, 2020                    ____________________________
                                                 Hon. Andrew S. Hanen
                                                 United States District Judge
